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 4
     Attorney for:
 5   VICTOR LUNA
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT of CALIFORNIA
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                                                      ) Case No.: 1:18-CR-00073 LJO
     UNITED STATES OF AMERICA,                        )
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                                                      )
                     Plaintiff,                       ) DEFENDANTS REQUEST AND WAIVER
11
                                                      ) OF APPEARANCE
             vs.                                      )
12
                                                      )
     VIDTOR LUNA,                                     )
13
                                                      )
                     Defendant                        )
14
             Defendant, VICTOR LUNA, hereby waives his appearance in person in open court upon
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     the status conference set for July 9, 2018 in Courtroom 4 of the above entitle court. Defendant
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     hereby requests the court to proceed in his absence and agrees that his interest will be deemed
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     represented at said hearing by the presence of his attorney, EMILY DELEON. Defendant further
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     agrees to be present in person in court at all future hearing dates set by the court including the
19
     dates for jury trial.
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21
     Date: 6/29/18                                                 _/s/Victor Luna__________ ___
22
                                                                   VICTOR LUNA
23
     Date: 6/29/18                                                 _/s/Emily De Leon _______ ___
24
                                                                   EMILY DE LEON
25                                                                 Attorney for Defendant Victor Luna




                                        Summary of Pleading - 1
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 1                                           ORDER

 2          Good cause appearing.

 3          Defendant VICTOR LUNA is hereby excused from appearing at this court hearing

 4   scheduled for July 9, 2018

 5
     IT IS SO ORDERED.
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 7
        Dated:    June 29, 2018                       /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
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                                    Summary of Pleading - 2
